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                                   EXHIBIT C

                          Declaration of Michael T. Jean
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    NATIONAL RIFLE ASSOCIATION OF                                 ) Case No. 21-30085 (HDH)
    AMERICA and SEA GIRT LLC1                                     )
                                                                  )
                                    Debtors.                      ) Jointly Administered
                                                                  )

                DECLARATION OF MICHAEL T. JEAN IN SUPPORT
       OF DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO
    SECTION 327(e) OF THE BANKRUPTCY CODE AUTHORIZING THE RETENTION
      AND EMPLOYMENT OF KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
    INTERNATIONAL LLP AS SPECIAL LITIGATION COUNSEL FOR THE DEBTORS
        AND DEBTORS IN POSSESSION EFFECTIVE AS OF JANUARY 15, 2021

             I, Michael T. Jean, Director of the Office of Litigation Counsel, of the National Rifle

Association of America, Inc., Institute for Legislative Action being duly sworn, state the

following under penalty of perjury:

             1.   I am the Director of the Office of Litigation Counsel of the National Rifle Association

of America, Inc., Institute for Legislative Action located at 11250 Waples Mill Rd, Fairfax, VA

22030.

             2.   I submit this declaration (this “Declaration”) in support of the Debtors’ Application

for Entry of an Order Pursuant to Section 327(e) Authorizing the Retention and Employment of

Kirkland & Ellis LLP as Special Litigation Counsel for the Debtors and Debtors in Possession




1
      The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
      Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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Effective as of January 15, 2021 (the “Application”).2 Except as otherwise noted, I have personal

knowledge of the matters set forth herein.

                                    The Debtors’ Selection of Counsel

        3.       The Debtors first retained Kirkland in October 2016. The Debtors’ attorney-client

relationship with the principal partners responsible for this work, however, stretches back several

years. Based on the strength of his reputation as a Supreme Court expert and his specific expertise

with Second Amendment matters, the Debtors retained Kirkland partner Paul D. Clement to argue

before the Supreme Court on their behalf in 2010. Since then, Clement and other members of his

team have continued to represent the Debtors in numerous matters in the Supreme Court and the

U.S. Courts of Appeals. When Clement and his team joined Kirkland in 2016, the Debtors

continued that longstanding relationship by retaining Kirkland to serve as its national Supreme

Court and appellate counsel and to provide strategic litigation advice

        4.       Kirkland is familiar with the Debtors’ business operations and I believe that

Kirkland is both well qualified and uniquely able to represent the Debtors as special litigation

counsel.

                                                Rate Structure

        5.       In my capacity as Director of the Office of Litigation Counsel, I am responsible for

supervising outside counsel retained by the Debtors in the ordinary course of business. Kirkland

has informed the Debtors that its rates for its representations are comparable to the rates Kirkland

charges in other similar representations. As discussed below, I am also responsible for reviewing

the statements regularly submitted by Kirkland, and can confirm that the rates Kirkland charged




2
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.



                                                         3
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the Debtors in the prepetition period are the same as the rates Kirkland will charge the Debtors in

the postpetition period.

                                         Cost Supervision

       6.      The Debtors have approved prospective budget and staffing plans for all work to

be performed by Kirkland, recognizing that in the course of litigation, it is possible that there may

be a number of unforeseen fees and expenses that will need to be addressed by the Debtors and

Kirkland. The Debtors further recognize that it is their responsibility to monitor closely the billing

practices of their counsel to ensure the fees and expenses paid by the estate remain consistent with

the Debtors’ expectations. The Debtors will continue to review the statements that Kirkland

regularly submits, and, together with Kirkland, amend the budget and staffing plans periodically,

as the case develops.

       7.      As they did prepetition, the Debtors will continue to bring discipline, predictability,

client involvement, and accountability to the counsel fees and expenses reimbursement process.

These budgets will provide guidance on the periods of time involved the level of the attorneys and

professionals that will work on various matters, and projections of average hourly rates for the

attorneys and professionals for various matters.



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                                                   4
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: February 17, 2021                           Respectfully submitted,

                                                 /s/ Michael T. Jean
                                                Name: Michael T. Jean
                                                Director of the Office of Litigation Counsel,
                                                NRA-ILA




                                                5
